                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:                                     :     CHAPTER 13
GEORGE A. SEMIAN                           :
a/k/a George Andrew Semian                 :
a/k/a George Semian                        :
                                           :
                     Debtor(s)             :     CASE NO. 5:22-
******************************************************************************
                      CERTIFICATION OF NO PAYMENT ADVICES
                   PURSUANT TO 11 U.S.C. SECTION 521 (a)(1)(B)(iv)
******************************************************************************
I, GEORGE A. SEMIAN, hereby certify that within sixty (60) days before the date of
filing the above-captioned bankruptcy petition, I did not receive payment advices (e.g.
“paystubs”), as contemplated by 11 U.S.C. Section 521 (a)(1)(B)(iv), from any source of
employment. I further certify that I received no payment advices during that period
because:

        Q       I have been unable to work due to a disability throughout the sixty (60)
                days immediately preceding the date of the above-captioned petition.

                I have received no regular income other than Social Security payments
                throughout the sixty (60) days immediately preceding the date of the
                above-captioned petition.

        Q       My sole source of regular employment income throughout the sixty (60)
                days immediately preceding the date of the above-captioned petition has
                been through self-employment from which I do not receive evidence of
                wages or a salary at fixed intervals.

                I have been unemployed throughout the sixty (60) days immediately
                preceding the date of the above-captioned petition.

        x       I did not receive payment advices due to factors other than those listed
                above (please explain) Real Estate Commissions.

        I certify under penalty of perjury that the information provided in this certification
        is true and correct to the best of my knowledge and belief.


Date:       February 1, 2023                /s/George A. Semian
                                            GEORGE A. SEMIAN




Case 5:23-bk-00220-MJC         Doc 6 Filed 02/01/23 Entered 02/01/23 15:04:20             Desc
                               Main Document    Page 1 of 1
